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                                                                   Case No. 9:18-CV-89176-BB




                       EXHIBIT 1
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       COIN PTY LTD                              11 MARCH 2016
                                                                        SENSITIVE

       AUDIENCE                                  DATE                   CLASSIFICATION




                  Australian Government
                      stralian Taxation Office                               FILE REF: 1-678K9NF




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       pa
       This paper explains the ATO's penalty and interest position for
       COIN Pty Ltd for the period 1 July 2012 to 30 June 2013




                                                                 0For more information on this
                                                                 position paper, phone Arna
          SENSITIVE                                              Synnot on (08)7422 2364




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       GLOSSARY
       Words defined in this glossary shall have the meanings ascribed to them:

        2012-13 income year   The year ended 30 June 2013

        ATO                   Australian Taxation Office

        Commissioner          the Commissioner of Taxation of the Commonwealth of Australia

        CO1 N                 COIN Pty Ltd

        Forex                 foreign exchange

        Hotwire               Hotwire Preemptive Intelligence Pty Ltd (subject to deed of
                              company arrangement)

        laaS                  Infrastructure as a Service

        MT                    Miscellaneous Taxation Ruling

        R&D                   Research and Development

        TAA                   Taxation Administration Act 1953

        Taxpayer              COIN Pty Ltd

        UK                    The United Kingdom

        W&K                   W&K Info Defense Research LLC

        We                    the ATO




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       I NTRODUCTION
       1.      A position paper is a document that sets out the ATO's analysis of the facts as we
               understand them, application of the relevant law to those facts and details of any
               proposed adjustments or recommendations that might be made as a result of the
               finalisation of an audit.
       2.      In the present case, an audit was undertaken to determine the taxable income of COIN
               Pty Ltd (the taxpayer)(CO1N) and its eligibility for a refundable tax offset in the year
               ended 30 June 2013(2012-13 income year). We issued the reasons for our decision to
               the taxpayer on 11 March 2016; which amended the taxpayer's taxable income and
               Research and Development(R&D) tax offset.
       3.      Set out below is our position in relation to the penalty and interest issues relating to the
               amendments. Also set out below is:
               3.1.     a statement of the facts which we have relied upon in reaching our position and
               3.2.     an explanation of the reasons for our position.
       4.      If you do not agree with our understanding of the facts or our interpretation of the law,
               then you will be given the opportunity to provide details, including any additional facts
               which you consider should be taken into account and any other relevant matters, before
               we determine our final position. The attached cover letter explains what you need to do
               and what happens next.




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       SUMMARY OF OUR POSITION
       ISSUE ONE: PENALTIES
       5.      Issue: Is the taxpayer liable to administrative penalties under Division 284 of Schedule 1
               to the Taxation Administration Act 1953(TAA)1 for the year ended 30 June 2013?
       6.      Position: Yes.
               We consider the taxpayer made false or misleading statements. We consider the
               statements arose from the taxpayer's intentional disregard of a taxation law. We also
               consider that the taxpayer did not have a reasonably arguable position.


       ISSUE TWO: INTEREST CHARGES
       8.      Issue: Is the taxpayer liable to pay shortfall interest charge (SIC) pursuant to section 280-
               100 of Schedule 1 to the TAA for the 2012-13 income year?
       9.      Position: No.
       10.     The adjustment does not give rise to an additional amount of income tax liability. SIC is
               therefore not applicable.


       SUMMARY OF PENALTY AND INTEREST CHARGES
       1 1.    The following table displays the proposed penalty and interest we propose to apply in
               relation to the taxpayer for the 2012-13 income year:
                                                      Amount
                Penalty                                   1,908,206.09
                SIC                                                  0
                Total                                     1,908,206.09




      'All legislative references in this paper are to Schedule 1 to the Taxation Administration Act 1953(TAA) unless
       otherwise indicated.




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       RELEVANT FACTS
       12.     Please refer to our Reasons for Decision for the substantive tax issues for the relevant
               facts.2 Additional facts relied upon to support our penalty position are detailed below.
       Experience with R&D tax offset
       13.     Dr Wright has been a director, public officer and majority shareholder of numerous
               companies that have claimed the R&D Tax Concession and R&D Tax Incentive dating
               back to 2001-02. Dr Wright's involvement has included:
               13.1.    making declarations as the authorised officer and/or the nominated contact for
                        various companies on their Auslndustry registration applications3
               13.2.    making numerous declarations as the public officer on tax returns for companies
                        claiming the R&D Tax Concession and R&D Tax Incentive, many of which have
                        been lodged by the companies themselves rather than a tax agent4
               13.3.    requesting two private binding rulings for companies relating to the R&D Tax
                        Incentive5
               13.4.    representing a number of the companies in a number of audits and objections by
                        the ATO relating to their R&D claims, including many where the ATO has
                        disallowed R&D claims and imposed penalties.6
       Tax agent involvement
       14.     KPMG advised the taxpayer that KPMG did not assess the eligibility of the activities for
               the R&D tax offset, did not review or audit the financial statements and relied on the
               taxpayer's assertions in relation to technical and financial aspects of the R&D project.'
       Connection between purported income and Hotwire's R&D claim
       15.    Hotwire Preemptive Intelligence Pty Ltd (subject to deed of company arrangement)
             (Hotwire) claimed a notional deduction in the 2012-13 income year of $3,205,820 on
             expenditure incurred to the taxpayer related to the taxpayer's purported acquisition from
             Professor Rees.8




       2
         Reasons for decision for COIN Pty Ltd for the period 1 July 2012 to 30 June 2013 dated 11 March 2013
       3
         For example: Intergyrs (2009); Information Defense (2009); Cloudcroft Pty Ltd and Panopticrypt(2012), Cloudcroft
       Pty Ltd, Coin-Exch Pty Ltd, Panopticrypt, Hotwire and the taxpayer(2013)
       4 For example: Cloudcroft Pty Ltd (2012, 2013), Hotwire (2013); Panopticrypt(2012, 2013); Cloudcroft(2012, 2013)
       5
         Private ruling application for Hotwire Preemptive Intelligence Pty Ltd dated 4 October 2013[C132]; Private ruling
       application for Hotwire Preemptive Intelligence Pty Ltd dated 15 November 2013[C133]
       6
         Ridges Estate Pty Ltd in 2001-02, 2002-03 and 2003-04; Information Defense Pty Ltd in 2008-09; Integyrs Pty Ltd
       in 2008-09 and 2009-10.
       7
         Appendix B to letter from Jeremy Hirschhorn of KPMG to COIN Pty Ltd dated 18 June 2014, page 13[0102]; Letter
       from Paul van Bergen of KPMG to COIN Pty Ltd dated 13 June 2014, page 13[0134]
       8
         Email from John Chesher to Rosa Solomon dated 7 November 2013 subject 'Hotwire PE Depreciation'[H9];
       Hotwire Pre-emptive Intelligence Pty Ltd 2013 R&D schedule [H6]; Email from John Chesher to Rosa Solomon dated
       1 1 November 2013 with subject'RE: Research & Development Claim'[H13]; Email from John Chesher to Brigid
       Kinloch dated 18 February 2014 with subject 'Hotwire PR'[H14]




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       Previous penalty imposition
       16.     On 18 August 2015, a base penalty amount imposed on the taxpayer for a false or
               misleading statement was worked out under item 2 of the table in subsection 284-90(1)
               relating to its June 2013 Business Activity Statement.9




       9
        Letter from James O'Halloran to COIN Pty Ltd with subject 'Advice of the findings of our audit' dated 14 August
       2015 [0135]; Notice of assessment of shortfall penalty issued to COIN Pty Ltd dated 18 August 2015[0136]




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       OUR POSITION
       ISSUE ONE: PENALTIES
       17.     Issue: Is the taxpayer liable to administrative penalties for the year ended 30 June 2013?
       18.     Position: Yes.

       Penalty for false or misleading statements
       19.     You are liable to a penalty if you make a false or misleading statement.1°
       20.     The taxpayer made false or misleading statements in its 2013 income tax return that led
               to it claiming a refundable R&D tax offset of $2,222,252.10 to which it was not entitled,
               resulting in a shortfall amount of $2,079,429.11
               20.1.     It claimed a notional deduction in respect of purported transaction with W&K Info
                         Defense Research LLC (W&K).
               20.2.     It claimed a notional deduction in respect of purported transaction with Dr
                         Ignatius Pang.
       21.     The taxpayer also made a number of false or misleading statements that did not result in
               a shortfall.
               21.1.     It claimed a deduction for a purported loss or outgoing in respect of a purported
                         obligation to pay foreign currency to W&K.
               21.2.     It claimed a deduction for a loss or outgoing purportedly incurred in respect of an
                         acquisition from Professor David Rees.
               21 3.     It included assessable income in respect of a purported supply to Hotwire
                         relating to the purported acquisition from Professor Rees.

       Exceptions
               Reasonable care
       22.     A taxpayer is not liable to a penalty for a false or misleading statement if the taxpayer
               and/or their agent exercised reasonable care in making the statement.12
       23.     As detailed below, we do not consider the taxpayer and/or their agent took reasonable
               care. The exception therefore does not apply.

               Safe harbour
       24.     A taxpayer is not liable to an administrative penalty if it engaged a registered tax agent,
               gave the registered tax agent all of the relevant taxation information, the registered tax


       10 Section 285-75
       11 Subsection 284-90(1)
       12 Subsection 284-75(5)




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               agent made the statement and the false or misleading nature of the statement did not
               result from intentional disregard or recklessness by the agent.13
       25.     The taxpayer provided its tax agent with many of the misleading or false documents it
               provided to us, rather than the relevant taxation information. Safe harbour therefore does
               not apply.

       Base penalty amount for false or misleading statement that results in a shortfall
       26.     If a false or misleading statement that results in a shortfall arose from:
               •   a failure to take reasonable care to comply with a taxation law, a base penalty
                   amount of 25% of the shortfall amount is imposed
               •   recklessness as to the operation of a taxation law, a base penalty amount of 50% of
                   the shortfall amount is imposed
               •   intentional disregard of a taxation law, a base penalty amount of 75% of the shortfall
                   amount is imposed.14

       Base penalty amount for false or misleading statement that does not result in a shortfall
       27.     If a false or misleading statement that does not result in a shortfall arose from:
               •   a failure to take reasonable care to comply with a taxation law, a base penalty
                   amount of 20 penalty units is imposed
               •   recklessness as to the operation of a taxation law, a base penalty amount of 40
                   penalty units is imposed
               •   intentional disregard of a taxation law; a base penalty amount of 60 penalty units is
                   i mposed.15
       28.     Penalty units for infringements occurring at the time the taxpayer lodged its income tax
               return are $170 per unit:6

               Reasonable care
       29.     According to paragraph 28 of Miscellaneous Taxation Ruling MT 2008/1 Penalty relating
               to statements: meaning of reasonable care, recklessness and intentional disregard:
                       The reasonable care test requires an entity to take the same care in fulfilling their tax
                       obligations that could be expected of a reasonable ordinary person in their position.
                       This means that even though the standard of care is measured objectively, it takes
                       into account the circumstances of the taxpayer.



       13 Subsection  284-75(6)
       14 Items 1, 2 and 3 of the table in subsection 284-90(1)
       15 Items 3A, 3B and 3C of the table in subsection 284-90(1)
       16 Crimes Act 1914 subsection 4AA(1)




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       30.     Some of the relevant factors to be taken into account include personal circumstances,
               level of knowledge, education and skill, understanding of tax laws, class of entity
               concerned, use of a tax agent, application for a private ruling, record keeping systems
               and procedures, reliance on third party information, the likelihood that a statement is false
               or misleading, the size of the shortfall amount.

               Recklessness
       31.     MT 2008/1 identifies the difference between recklessness and a lack of reasonable care
               as essentially the extent or degree to which the conduct displayed falls short of that of a
               reasonable person. Recklessness assumes that the behaviour in question displays a
               disregard or indifference to risk which would otherwise be foreseeable to a reasonable
               person.

               Intentional Disregard
       32.     MT 2008/1 states that intentional disregard means that there must be actual knowledge
               that the statement made is false. To establish intentional disregard, the entity must
               understand the effect of the relevant legislation and how it operates in respect of the
               entity's affairs and make a deliberate choice to ignore the law.
       33.     Paragraph 113 of MT 2008/1 explains that the difference between intentional disregard
               and behaviour that shows a want of reasonable care or recklessness is dishonesty.
       34.     Intentional disregard can be inferred from the facts and surrounding circumstances of the
               case: Weyers & Anor v. Federal Commissioner of Taxation (2006)[2006] FCA 818; 2006
               ATC 4523; 63 ATR 268.

               Factors relevant to culpability
       35.     We have considered the factors relevant to the level of culpability separately for each
               statement below. We have also considered the following general factors in determining
               the level of culpability.

               General factors relevant to culpability
       36.     The taxpayer's director and controlling mind at the time the return was lodged, Dr Wright,
               claims to have over 200 qualifications, predominantly in cybersecurity, including a
               m asters degree in law. Dr Wright has also been a director of companies that have
               claimed the R&D Tax Concession and R&D Tax Incentive since 2001-02. During this
               time, he has prepared numerous applications for registration for the programs, prepared
               tax returns for entities claiming the R&D Tax Incentive and requested private binding




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               rulings relating to the R&D Tax Incentive. He has also been involved in several audits by
               the ATO relating to the R&D claims of companies of which he was a director.
       37.     The taxpayer engaged a registered tax agent, KPMG, to prepare its income tax return.
               However, we note that KPMG specifically advised the taxpayer that KPMG did not assess
               the eligibility of the activities; did not review or audit the financial statements and relied on
               the taxpayer's assertions in relation to technical and financial aspects of the project. The
               taxpayer provided KPMG with many of the same documents that it provided to the ATO to
               substantiate its claim. These documents are discussed further below.

               Application to statement relating to the purported W&K expenditure
       38.     The taxpayer's claimed expenditure of $4,933,338 was purportedly based on a
               transaction for the acquisition of Infrastructure as a Service (laaS) from W&K, provided by
               an offshore third party and paid for with Liberty Reserves. As we have detailed in our
               reasons for decision, the supporting documentation provided by the taxpayer contains
               numerous conflicting statements and anomalies:
               38.1.    The purported other signatory to the W&K agreement died in 2013 so the
                        agreement cannot be independently verified. However the purported agreement
                        does not contain terms which we would expect to find in an agreement for laaS.
                        It lacks critical terms such as price and specifications and contains appendices
                        that could not have existed at the time the agreement was purportedly executed.
                        The purported end service provider is located in a tax haven and has refused our
                        direct requests for verification.
               38.2.    The taxpayer has contended that a United Kingdom (UK) company was involved
                        i n the payment to W&K. Independent information confirms that the UK company
                        was still under the control of a shelf company operator at the relevant time. Dr
                        Wright has subsequently updated documents held by UK Companies House,
                        backdating directorships and shareholdings.
               38.3.    The taxpayer's contention regarding the issue of its shares is inconsistent with
                        two prior instances where the taxpayer advised the ATO of its shareholdings.
                        The taxpayer's share documentation is also issued in company names that were
                        not in existence at the relevant time, and the numbering of shares and
                        certificates has been changed to accommodate the purported earlier issue. The
                        taxpayer has also lodged backdated documents with the Australian Securities &
                        I nvestments Commission.




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               38.4.   The payment mechanism purportedly used cannot be independently verified and
                        the Liberty Reserve screenshot provided by the taxpayer to evidence payment
                       does not appear genuine.
               38.5.    The material presented to show the existence and use of the purported COIN
                       supercomputer appears to have been manipulated in an attempt to mislead the
                        ATO into accepting that the taxpayer had access to a supercomputer with the
                       specifications it claims to have acquired under the purported laaS agreement.
                        The taxpayer has not provided reliable evidence that it had access to the
                        purported COIN supercomputer for its activities.
               38.6.    Parts of the taxpayer's R&D applications and further documentation provided
                        concerning its purported R&D activities appear to have been copied or
                        plagiarised from publicly available sources without acknowledgement of the
                        original author or source. Some of the material has been presented to the ATO
                        to give the façade that it represents the taxpayer's original work, when it does
                        not.
               38.7.    The taxpayer has provided numerous purported emails, Bitmessages and text
                        messages to the ATO which it claims support its contentions. The taxpayer has
                        also presented a number of emails to the ATO that the ATO has examined and
                       found to be false or doctored, one of which featured a purported 'forensic
                        analysis' prepared by the taxpayer in an attempt to show that the doctored email
                        was legitimate. This has led us to question the veracity and genuineness of
                        other emails and electronic communications provided by the taxpayer.
       39.     Taken together, these facts indicate that the taxpayer's claim was based on a purported
               transaction that did not occur and services that were never provided. We infer that a
               significant number of documents have been deliberately and dishonestly created and
               submitted to the ATO in an attempt to substantiate the taxpayer's claim. As the signatory
               to the purported laaS agreement, owner of the purported Liberty Reserve account and
               user of the purported supercomputer, Dr Wright must have known that the transactions
               did not occur and that the taxpayer had no entitlement to the R&D offset.
       40.     On the basis of the above facts, we consider that the behaviour that resulted in the tax
               shortfall demonstrates an intentional disregard for Australian taxation laws. As such, the
               base penalty amount is 75% of the shortfall amount.




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               Application to statement relating to the purported Dr Pang expenditure
       41.     The taxpayer claimed expenditure of S5,000 purportedly relating to services provided by
               Dr Pang as a notional deduction for the purposes of the R&D Tax Incentive. The taxpayer
               has been unable to substantiate that it incurred an expense to Dr Pang.
       42.     Given Dr Wright's qualifications and that he has been involved in a number of ATO audits
               both individually and as a director, we consider that he should have a reasonable
               understanding of both when a loss or outgoing has been incurred by an entity and the
               substantiation requirements.
       43.     While the taxpayer used a tax agent; KPMG relied on the taxpayer's incorrect contentions
               that the amount had been incurred by it.
       44.     The invoice purportedly issued by Dr Wright on behalf of Dr Pang does not reflect that the
               taxpayer incurred a liability to Dr Pang and indicates a lack of understanding by the
               taxpayer about the meaning of incurred and of agency relationships. The taxpayer has
               not indicated that it sought any advice from its tax agent or the ATO on its treatment of
               the expense.
       45.     In May 2014 Dr Wright advised KPMG that the taxpayer had incurred the expenditure to
               Dr Pang in the 2012-13 income year, however the amount was not paid in that year and
               would not be 'formally issued until June 2014'. We infer that no invoice had been issued
               at the relevant time.
       46.     Further, the financial statements do not show any expenditure to Dr Pang in the 2012-13
               i ncome year.
       47.     However; when asked by the ATO to provide copies of the relevant contracts and
               invoices related to its R&D claim in July 2014 the taxpayer produced an invoice to the
               ATO for the transaction with Dr Pang dated 1 June 2013.
       48.     The date of the invoice provided is at odds with Dr Wright's statement to KPMG that the
               payment would not be 'formally issued' until June 2014.
       49.     We have concluded from this that the invoice did not exist at the time the taxpayer lodged
               its return and that it was backdated by Dr Wright; this conclusion is further supported by
               the nature of the invoice provided by the taxpayer, namely that it was prepared by Dr
               Wright rather than Dr Pang.
       50.     Further, Dr Pang advised he received a laptop, printer; salary and superannuation in
               payment for his services, yet the invoice refers to the purported provision of software.
       51.     Taken together, these facts indicate that the taxpayer's claim was based on a transaction
               that did not occur as the taxpayer contends. Given Dr Wright prepared the invoice,
               advised KPMG that it would not 'formally issue until 2014' and purportedly provided the



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               software to Dr Pang; we conclude that Dr Wright was aware that the amount had not
               been incurred by the taxpayer and that the taxpayer dishonestly included the amount in
               the R&D offset claim.
       52.     On the basis of the above facts, we consider that the behaviour that resulted in the tax
               shortfall demonstrates an intentional disregard for Australian taxation laws. As such, the
               base penalty amount is 75% of the shortfall amount.

               Application to statement relating to the purported foreign exchange (forex) loss
       53.     The taxpayer claimed a deduction of $404,204 in respect of a purported obligation to pay
               foreign currency to W&K.
       54.     As detailed above, we conclude that the purported transaction with W&K did not take
               place and that the taxpayer knew this. It follows that the taxpayer was aware that it did
               not incur a loss or outgoing with respect to an obligation to pay foreign currency.
       55.     On the basis of the above facts, we consider that the statement was false or misleading
               because of an intentional disregard for Australian taxation laws. As such, the base
               penalty amount is 60 penalty units.

               Application to statement relating to the purported Professor Rees expenditure
       56.     The taxpayer claimed a deduction of $2,258,534 in respect of a loss or outgoing
               purportedly incurred to Professor Rees.
       57.     The taxpayer has been unable to substantiate that it:
               57.1.   received any material from Professor Rees
               57.2.   made any payment to Professor Rees
               57.3. incurred an amount to Professor Rees or incurred it in earning assessable
                       income.
       58.     The taxpayer has not provided any evidence of communication with Professor Rees; and
               Professor Rees' ill health indicates he was incapable of communicating during the later
               stages of his life.
       59.     The taxpayer has provided conflicting and inconsistent contentions regarding how
               Professor Rees was purportedly paid. Third party information indicates that there was no
               relationship between the taxpayer and Professor Rees.
       60.     Taken together; these facts indicate that the taxpayer's claim was based on a transaction
               that did not take place. Given Dr Wright contends to have communicated with Professor
               Rees about their agreement; received the material from Professor Rees and instructed
               that payment be made to Professor Rees, we conclude that Dr Wright knew that the
               a mount had not been incurred by the taxpayer and that the taxpayer dishonestly included




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               the amount as a deduction. We infer that a number of documents have been dishonestly
               created and submitted to the ATO in an attempt to substantiate the taxpayer's claim.
       61.     On the basis of the above facts, we consider that the statement was false or misleading
               because of an intentional disregard for Australian taxation laws. As such, the base
               penalty amount is 60 penalty units.

               Application to statement relating to the purported Hotwire income
       62.     As detailed above, we conclude that the purported transaction with Professor Rees did
               not occur and the taxpayer was aware of this. It follows that the taxpayer knew it did not
               derive income from Hotwire.
       63.     The taxpayer included assessable income in respect of a purported supply to Hotwire
               relating to the purported acquisition from Professor Rees. Considered in isolation, this
               false or misleading statement decreased the offset owing to the taxpayer and would not
               usually attract a penalty. When considered in light of all the circumstances and the
               notional deduction claimed by Hotwire, we consider that the inclusion of the income was
               part of a broader deception to obtain a benefit.
       64.     On the basis of the above facts, we consider that the statement was false or misleading
               because of an intentional disregard for Australian taxation laws. As such, the base
               penalty amount is 60 penalty units.

       Penalty for taking a position that is not reasonably arguable
       65.     If a taxpayer makes a statement to the Commissioner which treats an income tax law as
               applying in a way that is not reasonably arguable, they are liable to an administrative
               penalty.17
       66.     This only applies to a taxpayer if their statement results in a shortfall which is greater than
               $10,000 or 1% of the income tax payable on the income tax return for that year.18 The
               taxpayer's shortfall amount exceeds this threshold.
       67.     A matter is reasonably arguable if it would be concluded in the circumstances, having
               regard to the relevant authorities, that what was argued for is about as likely to be correct
               as incorrect, or is more likely to be correct than incorrect.18
       68.     We do not accept the existence of the contractual relationship or the payment the
               taxpayer contends to have made to W&K, or that it incurred a liability to Dr Pang, and
               consider that the taxpayer knew that these statements were untrue. The application of the
               law to the true facts is straightforward. On the available evidence, we do not consider an

       17
          Subsection 284-75(2) and 284-90(1)
       18
          Paragraph 284-90(3)(a)
       19
          Section 284-15




       SENSITIVE                                                                                 PAGE 15 OF 21




CONFIDENTIAL                                                                                             DEF_00029221
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       SENSITIVE                                                        POSITION PAPER




               alternate position to ours to be reasonably arguable. The base penalty amount for failing
               to have a reasonably arguable position is 25% of the shortfall amount.

       M ultiple base penalty amounts
       69.     If more than one item in the table in subsection 284-90(1) of Schedule 1 to the TAA
               applies, the item that has the higher base penalty amount is to be applied in determining
               the amount of the penalty. Here items 1 and 4 of the table apply to the statements
               relating to the purported W&K and Dr Pang expenditure. Therefore your base penalty
               amount is 75% of your shortfall amount.2°

       Increase in penalty
       70.     Relevantly, a base penalty amount for a false or misleading statement is increased by
               20% if:
                  • the taxpayer took steps to prevent or obstruct the Commissioner from finding out
                         about a shortfall amount or the false or misleading nature of a statement21 or
                  • the taxpayer had a base penalty amount worked out for the same type of penalty
                         previously.22

               Prevention or obstruction of the Commissioner
       71.     These steps to prevent or obstruct the Commissioner from finding out about a shortfall
               amount can include:
               71.1.     repeated failure or deferral by the entity to supply information without an
                         acceptable reason
               71.2.     repeated failure by the entity to respond adequately to reasonable requests for
                         information including:
                          a)   excessive or repeated delays in responding
                          b)   giving information that is not relevant or does not address all the issues in
                               the request or
                          c)   supplying inadequate information
               71.3.     failure to respond to a request for information pursuant to formal information
                         notices
               71.4.     providing false or misleading information or documents
               71.5.     destroying records or
               71.6.     a combination of the factors above.


       20 Subsection 284-90(2)
       21 Paragraphs 284-220(1)(a)
       22 Paragraphs 284-220(1)(c)




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       72.     We have considered the following facts to determine whether the taxpayer took steps to
               prevent or obstruct the Commissioner from finding out about the shortfall amount and the
               false or misleading nature of statements.

               General factors relevant to prevention or obstruction
       73.     During the audit, the taxpayer provided the following false or misleading documents:
               73.1.     a doctored email said to have been sent by an ATO officer in an attempt to
                         make the Commissioner release the refund
               73.2.     plagiarised material in an attempt to mislead the Commissioner that the material
                         represented its original work
               73.3.     two versions of a purported email that are identical except that they were dated
                         years apart.

               Application to prevention or obstruction relating to the purported W&K expenditure
       74.     In relation to the W&K expenditure, the taxpayer further provided the following false or
               misleading documents to the ATO:
               74.1.     a purported contract that included information that did not exist at the time it was
                         purportedly entered into and executed
               74.2.     documents relating to a transaction purportedly entered into by a company that
                         was a shelf company and not under control of the taxpayer or related entities at
                         the relevant time
               74.3.     a screenshot as evidence of payment that we consider is doctored
               74.4.     backdated share certificates and applications for shares
               74.5.     a screen shot purportedly showing that Dr Wright controlled or had access to the
                         1933 bitcoin address which appears to have been doctored.
       75.     As detailed in our substantive position, the taxpayer changed its contentions relating to
               the purported payment to W&K five times. The most recent involved a Republic of
               Seychelles entity. Part of the evidence provided to substantiate its existence was a
               backdated document.
       76.     At a visit to the taxpayer's premises on 26 March 2015 Dr Wright showed ATO officers
               that the taxpayer had access to what he claimed was the purported COIN
               supercomputer. This demonstration and material appears to have been manipulated and
               displays numerous errors and anomalies. We conclude that the material shown to the
               ATO officers was created or altered in an attempt to deceive the ATO officers into
               accepting that the taxpayer had access to the purported COIN supercomputer for its
               activities.




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       77.     On two occasions the taxpayer failed or refused to provide information requested by the
               Commissioner during the course of the audit without adequate explanation.
               77.1.    When asked to provide further evidence to establish the veracity of the Liberty
                        Reserve screenshot, such as documents relating to the setting up of and transfer
                        of funds into the account, no documents were provided.
               77.2.    When asked to provide financial statements for a UK company involved in the
                        purported transactions, the taxpayer did not provide them.
       78.     On this basis we consider that the taxpayer took steps to prevent or obstruct the
               Commissioner from uncovering the false or misleading statement with respect to the
               W&K expenditure.

               Application to prevention or obstruction relating to the purported Dr Pang
               expenditure
       79.     In relation to the Dr Pang expenditure, the taxpayer further provided an invoice, the
               existence of which is inconsistent with previous advice it gave to KPMG and featured a
               payment method that is inconsistent with the information provided by Dr Pang. We
               consider this to be the provision of a document that is false or misleading.
       80.     On this basis we consider that the taxpayer took steps to prevent or obstruct the
               Commissioner from finding out about the false or misleading statement with respect to the
               Dr Pang expenditure.

               Application to prevention or obstruction relating to the purported forex deduction
       81.     Given this purported deduction flowed from the purported W&K expenditure, we consider
               the same factors are relevant.
       82.     On this basis we consider that the taxpayer took steps to prevent or obstruct the
               Commissioner from finding out about the false or misleading statement with respect to the
               forex deduction.

               Application to prevention or obstruction relating to the purported Professor Rees
               expenditure
       83.     In relation to the purported expenditure to Professor Rees, the taxpayer provided an
               invoice and a number of written statements detailing the purported arrangement. We
               consider this to be the provision of documents that are false or misleading.
       84.     On this basis we consider that the taxpayer took steps to prevent or obstruct the
               Commissioner from finding out about the false or misleading statement with respect to the
               Professor Rees expenditure.




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       SENSITIVE                                                        POSITION PAPER




               Application to prevention or obstruction relating to the purported Hotwire income
       85.     In relation to the purported Hotwire income, the taxpayer provided documents including
               an invoice and contract, in addition to the same documents relating to the Professor Rees
               deduction. We consider this to be the provision of documents that are false or misleading.
       86.     On this basis we consider that the taxpayer took steps to prevent or obstruct the
               Commissioner from finding out about the false or misleading statement with respect to the
               purported Hotwire income.

               Increased penalty— prevention or obstruction
       87.     All base penalty amounts are therefore increased by 20% under paragraph 284-220(1)(a)
               of Schedule 1 to the TAA.

               Previous base penalty amount
       88.     On 18 August 2015, a base penalty amount imposed on the taxpayer for a false or
               misleading statement that resulted in a shortfall amount was worked out under item 2 of
               the table in subsection 284-90(1) relating to its June 2013 Business Activity Statement.
       89.     The two base penalty amounts that resulted in a shortfall are therefore increased under
               paragraph 284-220(1)(c).

       Reduction in Base Penalty
       90.     A base penalty amount is reduced to the extent that you or your agent applied the law in
               a way consistent with advice given to you or your agent by or on behalf of the
               Commissioner, general administrative practice under that law, or a statement in a
               publication approved in writing by the Commissioner.23
       91.     The taxpayer did not receive advice from the Commissioner or treat the taxation law in a
               manner according with general administrative practice in arriving at its conclusion. The
               exception therefore does not apply.
       92.     The base penalty amount for shortfall amounts for an accounting period may be reduced
               by 20% or 80% if you voluntarily tell the Commissioner about the shortfall amount and the
               circumstances around that disclosure.24
       93.     The taxpayer has not made a voluntary disclosure so the base penalty will not be
               reduced.

       Remission of penalty
       94.     The Commissioner has the discretion to remit all or part of the penalty.25


       23 Section 284-224
       24
          Section 284-225
       25 Section 298-20




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       95.     Any remission decision is based on all the relevant facts and circumstances and having
               regard to the purpose of the penalty provision.26 Relevant matters to consider in
               approaching the issue of remission include:
               95.1. that the purpose of the penalty regime is to encourage entities to take reasonable
                         care in complying with their tax obligations
               95.2. a major objective of the penalty regime is to promote consistent treatment by
                         reference to specified penalties. That objective would be compromised if the
                         penalties imposed at the specified rates were remitted without just cause.
       96.     After giving consideration to the remission guidelines, we do not consider there are any
               grounds for remitting all or part of the penalty.

       Calculation of the penalty amount
       97.     Section 284-85 of Schedule 1 to the TAA provides the statutory formula for calculating
               the amount of penalty where the base penalty amount is altered under sections 284-220
               or 284-225. The formula is:
                       BPA +[BPA x (Increase % - Reduction %)]
                       where:
                       BPA is the base penalty amount.
                       Increase % is the percentage increase (if any) under section 284-220
                       Reduction % is the percentage reduction (if any) under section 284-225

       98.     Where a shortfall is attributable to multiple matters that warrant penalties at different rates
               and the adjustment causes the taxpayer to move from a loss position to become taxable,
               the prescribed rates are applied to the tax shortfall or part thereof on a pro-rata basis.27
               This situation is analogous in that the offset disallowed exceeds the shortfall. In this
               instance, 99.9% of the shortfall is attributable to the purported W&K transaction and 0.1%
               is attributable to the Dr Pang transaction.
                                 Pro atatax          ease          Proratabase           lncrease
                                  shortfall           na          penalty.amount
               W&K                 2,077,325.74          75%          1,557,994.30       311,598.86          1,869,593.16
               Dr Pang                 2,103.26           75%              1,577.44           315.49             1,892.93
               Forex                          NA     10,200.00            10,200.00         2,040.00            12,240.00
             Prof Rees                        NA     10,200.00            10,200.00         2,040.00            12,240.00
               Hotwire                        NA     10,200.00            10,200.00         2,040.00            12,240.00
             Total                                                     1,590,171.74      318,034.35          1,908,206.09

       99.     The penalty amount is therefore $1,908,206.09.


       26
          Law Administration Practice Statement PS LA 2012/5 Administration of penalties for making false or misleading
       statements that result in shortfall amounts
       27
          Taxation Ruling TR 94/3: Income tax: tax shortfall penalties: calculation of a tax shortfall and allocation of
       additional tax




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       ISSUE TWO: INTEREST CHARGES
       100. Issue: Is the taxpayer liable to pay SIC pursuant to section 280-100 of Schedule Ito the
               TAA for the 2012-13 income year?
       101. Answer: No.

       Shortfall interest charge
       102. SIC is imposed on any additional amounts of income tax that become payable when
               assessments from the 2005 year onwards are amended.28
       103. For the 2012-13 income year:
               103.1. we have amended the taxpayer's income tax assessment to alter the components
                      of the assessment but this amendment does not result in any additional amount of
                      income tax payable;
               103.2. the refunded component of a refundable tax offset does not form part of a
                      taxpayer's assessment. We have given effect to our adjustment to your refundable
                      tax offset by issuing a notice.29
       104. As a result, SIC does not apply.




       28
          Section 280-100
       29
         Income Tax (Transitional Provisions) Act /997 subdivision 67-L




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                                                                        P-598
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                                      62
To:       'nCrypt Craig'[craig@ncrypt.com]; 'nCrypt Stefan'[stefan@ncrypt.com]; ramona@ncrypt.com[ramona@ncrypt.com]; 'Stef
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Savanah'[stef.savanah@demorgan.com.au]
From:     Allan Pedersen[allan@ncrypt.com]                        62
Sent:     Wed 1/13/2016 5:40:19 PM (UTC)
Subject: White Paper Program Recovery Planning
                                                                                                             P-685
Patents Application Master Registry V10.0.pdf                                            Case No. 9:18-CV-89176-BB

 Hi,

 Perquisites for the execution of the recovery plan (see attached):

       1.        Standard time to produce a white paper is 10 working days max
                    a. Currently not been achieved -> white paper process must be optimized
                                 i. Colum being injected into the process in order to produce white paper framework
                                ii. Early introduction of white paper material
                               iii. Access to CW (done)

       2.        New resources required assigned to the program (all London)
                   a. Gavin assigned to program 11/01/15
                   b. NEW 1 (Researcher profile) to start: 01/02/16
                   c. NEW 2 (Researcher profile) to start: 15/02/16
                   d. NEW 3 (Researcher profile) to start: 29/02/16

       3.        Allowance (minor) for familiarization has been injected into schedule for new starters.

       4.        Igy assigned (continued) part time to the program

       5.        Stef to be responsible the execution of the white paper/patent program (Sydney/London)
                    a. Sydney/London stand-up meetings, Coordination between sites etc.
                    b. White papers -> Guidance, reviews etc.
                    c. Patents -> Engagement with FB Rice and UDL.

       6.        ORG Chart
                   a. Stef - Director of Research
                               i. Sydney: Stef -> Igy (part time) , Ray, Ingrid (Fb Rice) and Viveca
                              ii. London: Gavin -> New 1, New 2, New 3



 Please note that we ONLY have approval for two new researchers at this stage.



 The following have been introduced to the registry (see attached):
     1. Prioritization of white papers/patents being injected into the nCrypt RoadMap (5 years); and
     2. Execution of white papers (currently for the next 3 years only).



 White paper material/recordings to be produced by CW (prioritized):

 Craig:


   Patent #                                         Patent Name                                     Date

            72         Method for the processing of allocated and automated Transactions             In
                                                                                                  progress
        154
             Case Multi signature trust
                  9:18-cv-80176-BB      Document 878-12 Entered on FLSD DocketIn01/31/2022 Page 29 of
                                                                           Progress
                                                        62
        186        Digital rights management                                                18/01/16

        188        An automated payment method and system with time-lock encryption         20/01/16

        151        Smart contract registry                                                  22/01/16

        155        Bitcoin banking system                                                   25/01/16

        71         Distributed financial distress rating system                             27/01/16

        168        Peer to peer exchange - (d) Automated self-enforcing derivatives         29/01/16

        89         Method for coordinating smart property--guaranteed loans utilising the   01/02/16
                   blockchain

        152        Non-interest property purchase                                           03/02/16

        129        One-step posting for approval-based ledger transactions using multi-     05/02/16
                   signature wallets

        118        Colour coin exchange exception balancing system                          08/02/16

        169        Peer to peer exchange - (e) Collateralized debt obligation               10/02/16

        124        A system and method to utilise the blockchain for an accounts            12/02/16
                   receivable system

        7          On block Futures Derivative and risk instrument                          15/02/16

        8          Programmable Bond system                                                 17/02/16

        156        Software signing on the Blockchain                                       19/02/16

        138        A method and system to provide ECC/ECDH key exchange to three or         22/02/16
                   more parties

        100        Lease and loan sub-ledger blockchain accounting methods and system       24/02/16




Tasking White Papers:

Stef:

   72         Method for the processing of allocated and automated Transactions

  187         P2P – Lending

  151         Smart contract registry

  168         Peer to peer exchange - (d) Automated self-enforcing derivatives

  169         Peer to peer exchange - (e) Collateralized debt obligation
  187     Fast payment Network (linked to Academic paper #1)
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                                                             62


Igy:

  160     Turing Complete BTC Scripting

  154     Multi signature trust

  100     Lease and loan sub-ledger blockchain accounting methods and system




Gavin (responsible for the patent catalogue):

   91     System and method for managing lending in a non-debt system

  155     Bitcoin banking system

   89     Method for coordinating smart property--guaranteed loans utilising the
          blockchain

  156     Software signing on the Blockchain




Ingrid:

  188     An automated payment method and system with time-lock encryption

  185     Redemption contracts

  186     Digital rights management

  124     A system and method to utilise the blockchain for an accounts receivable
          system

  152     Non-interest property purchase




NEW 1:

   71     Distributed financial distress rating system

  129     One-step posting for approval-based ledger transactions using multi-
          signature wallets

  138     A method and system to provide ECC/ECDH key exchange to three or more
          parties




NEW 2:
         Case 9:18-cv-80176-BB Document 878-12 Entered on FLSD Docket 01/31/2022 Page 31 of
  118    Colour coin exchange exception balancing system 62
   7     On block Futures Derivative and risk instrument




NEW 3:

   8     Programmable Bond system




Cheers, Allan
                                                                                                                                                           Case 9:18-cv-80176-BB Document 878-12 Entered on FLSD Docket 01/31/2022 Page 32 of
                                                                                                                                                                                                 62

         Patents Progress & Prioritization

         Latest update                                                                                 13/01/2015



         Health check                                                                                                                              New Starters

                Milestone Performance Check (execution)                                                 RED                                           NEW 1              01/02/2016
                               One or more milestones are more than 20 days behind schedule                                                           NEW 2              15/02/2016
                                                                                                                                                      NEW 3              29/02/2016
                White Paper Submission Target                                                                     32


                White Paper (32) Submission Target Date                                                06/04/2016


                White Papers Submitted                                                                             9

                NEW Patents (P1, P2, P3) Identified                                                               27


                NEW Academic Papers Identified                                                                     2

                Patents Submitted by FB Rice                                                                       0

         Projection White Paper Submission
                White papersto be submitted Oct-15 to Sep-16                                                     57
                White papers to be submitted Oct-16 to Sep-17                                                   100
                White papers to be submitted Oct-17 to Sep-18                                                     52
                White papers to be submitted Oct-18 to Sep-19                                                      0


         Number of white papers/patents Injected into nCrypt RoadMap
                Year 1 - 2 (core system ( = nTrust))                                                              19
                Year 3                                                                                            19
                Year 4                                                                                            19
                Year 5                                                                                            22


                                                        White Paper Progress Indicators (DeMorgan)                                                                    Patents per Company Entity
 35

                                                                                                                                                                              C01N                         23
 30
                                                                                                                                                                              Cloudcroft                   12
                                                                                                                                                                              Coin-Exch                    31
 25
                                                                                                                                                                              Denariuz                     41
 20                                                                                                                                                                           Integyrz                      1
                                                                                                                                                                              Interconnected               23
 15                                                                                                                                                                           Panopticrypt                 24
                                                                                                                                                                              Pholus                        9
 10                                                                                                                                                                           Zuhl                          6
                                                                                                                                                                              CRAIG                        39
     5
                                                                                                                                                                      TOTAL                             209
   0
 07/08/2015           07/09/2015           07/10/2015         07/11/2015    07/12/2015            07/01/2016           07/02/2016     07/03/2016       07/04/2016

                                                    Planned Submission      Forecast Submission         Actual Submitted




ID                                             White Papers                                        R&D Incentive Execution              Based                           Execution Paper                         Invention     Priority           White Paper Production Table                     nCrypt RoadMap                                                     Execution Paper Submission                                                                             Comment
                                                                                                                                                     Target Date      Forecast Date                                                                                                                                                                                       Target Date    Forecast Date
                                                                                                    Linked to                          Paper
                                                                                                                           Owner                     (DeMorgan         (DeMorgan    %Complete        KPI        Patentable   1,2,3,4,5   2015/16     2016/17    2017/18    2018/19   Year 1 - 2   Year 3    Year 4   Year 5                  Owner                        (DeMorgan       (DeMorgan    %Complete    KPI
                                                                                                  Company Entity                      Executed
                                                                                                                                                       Paper)             Paper)                                                                                                                                                                                            Paper)           Paper)
 1       Academic Paper: Ledger Paper #1                                                                               Craig + Stef                     NEW              24/12/2015  100.00%                       TBD           1         YES                                                                                                Stef                        31/12/2015        31/12/2015  100.00%
 2       Academic Paper: Ledger Paper #2                                                                               Craig + TBD                      NEW              26/08/2016                                TBD           1         YES

ID                                                Patents                                          R&D Incentive         Execution      Based                       Execution - White Paper                     Invention     Priority           White Paper Production Table                     nCrypt RoadMap                Execution Patent Submission                Execution                                                                                        Comment
                                                                                                                                                     Target Date      Forecast Date                                                                                                                                                                                       Target Date   Forecast Date
                                                                                                    Linked to                          Paper
                                                                                                                           Owner                     (DeMorgan         (DeMorgan    %Complete        KPI        Patentable   1,2,3,4,5   2015/16     2016/17    2017/18    2018/19   Year 1 - 2   Year 3    Year 4   Year 5                  Owner                        (DeMorgan      (DeMorgan    %Complete     KPI
                                                                                                  Company Entity                      Executed
                                                                                                                                                       Paper)            Paper)                                                                                                                                                                                             Paper)         Paper)
160      Turing Complete BTC Scripting                                                                 CRAIG                Igy                         NEW            22/01/2016    85.00%                        YES           1         YES                                                                                                                               12/02/2016                            GREEN   Response to questions to be provided on 24/12/15 (in progress)
            Replaceable extension (to above 3. Resubmission + Replaceable Transactions)                CRAIG                                             NEW                                                       TBD         TBD
201                                                                                                                                                                                                                                        YES                                                                                                                                                                             Drop and drag system - Ray to be involved
202         For/While/etc Loop                                                                         CRAIG                                             NEW                                                       TBD         TBD         YES
203         RC4 example                                                                                CRAIG                                             NEW                                                       TBD         TBD         YES
204         Token based computing                                                                      CRAIG                                             NEW                                                       TBD         TBD         YES
205         Stack Machine (0-stack, 1-stack, 2-stack)                                                  CRAIG                                             NEW                                                       TBD         TBD         YES
206         Read Forward Wang B Drive                                                                  CRAIG                                             NEW                                                       TBD         TBD         YES
207         System to input external data to the blockchain                                            CRAIG                                             NEW                                                       TBD         TBD         YES
208         Interest + Value appreciation                                                              CRAIG                                             NEW                                                       TBD         TBD         YES
209         Rudimentary Pointer + Array maps                                                           CRAIG                                             NEW                                                       TBD         TBD         YES
210         Lookup + Store - Saved computations                                                        CRAIG                                             NEW                                                       TBD         TBD         YES
211         Parallelized Block Computations (Manu transaction, one computations)                       CRAIG                                             NEW                                                       TBD         TBD         YES
212         Solution to melting Problem                                                                CRAIG                                             NEW                                                       TBD         TBD         YES
                                                                                                                                                                                                                                                                                                                                                                                                                           FB final review: 23/12/15
                                                                                                                                                                                                                                                                                                                                                                                                                           The technical document needs a script to demonstrate the implementation of the invention (the
                                                                                                                                                                                                                                                                                                                              In progress - FB Rice are drafting the                                                       current script in the document was attempted by Ingrid but is not quite correct). The correct script will
         Blockchain based accounting system (using Bidirectional transactions)                    Interconnected           Ingrid      Sydney            12/10/2015      18/11/2015    100.00%     ACHIEVED        YES                                                                                                                                                      27/01/2016     29/02/2016   25.00%      RED
                                                                                                                                                                                                                                                                                                                                          specification                                                                    follow in the near future.
 1                                                                                                                                                                                                                               1         YES                                          YES                                                                                                                                Draft specification to be provided mid february
                                                                                                                                                                                                                                                                                                                              In progress - FB Rice are drafting the                                                       Draft specification to be provided mid february
            An automated payroll method and system                                                Interconnected           Ingrid      Sydney            NEW             07/12/2015    100.00%     ACHIEVED        YES                                                                                                                                                      27/01/2016     29/02/2016   25.00%      RED
184                                                                                                                                                                                                                              1         YES                                          YES                                               specification
188         An automated payment method and system with time-lock encryption                      Interconnected           Ingrid      Sydney            NEW             26/02/2016     15.00%       N/A           YES           1         YES                                          YES                                                                               18/03/2016                               GREEN   Craig to provide material related to possibility of time-lock encryption.
185         Redemption contracts                                                                  Interconnected           Ingrid      Sydney            NEW             15/01/2016     85.00%       N/A           YES           1         YES                                          YES                                                                               09/01/2016                               GREEN   2nd pass ready to be reviewed by Craig on 7/1/16
186         Digital rights management                                                             Interconnected           Ingrid      Sydney            NEW             12/02/2016     85.00%       N/A           YES           1         YES                                                      YES                                                                   04/03/2016                               GREEN   Ingrid on leave from 16-Jan-16 to 23-Jan-16 (incl)
 42      A method to securely distribute keys and pins for online wallets                             Pholus                Stef       Sydney            19/10/2015      12/11/2015    100.00%     ACHIEVED        YES           2         YES                                          YES                                    Awaiting filing - ready to be filed        11/01/2016       11/01/2016   75.00%     GREEN   Draft specification approved, awaiting filing
192         Personal device security                                                                  Pholus                Stef       Sydney            NEW             09/12/2015    100.00%     ACHIEVED        YES           2         YES                                                      YES                                                                   11/01/2016         TBD
                                                                                                                                                                                                                                                                                                                              In progress - FB Rice are drafting the                                                       FB final review: 23/12/15
         Consolidated blockchain based accounting                                                    Denariuz               Ben        Sydney            26/10/2015      25/11/2015    100.00%     ACHIEVED        YES                                                                                                                                                      04/01/2016     29/01/2016   50.00%      RED
 60                                                                                                                                                                                                                              2         YES                                                      YES                                   specification                                                                    Draft specification to be provided 15-Jan-16
 72      Method for the processing of allocated and automated Transactions                            C01N                  Stef       Sydney            26/10/2015      12/02/2016    15.00%        RED           YES           2         YES                                          YES                                                                               04/03/2016                               GREEN   CW to provide research data
 91      System and method for managing lending in a non-debt system                                Coin-Exch              Gavin       London            09/11/2015      05/02/2016    50.00%        RED           YES           2         YES                                          YES                                                                               26/02/2016                               GREEN   Material OK
187          P2P - Lending                                                                          Coin-Exch               Stef       Sydney            NEW             15/01/2016    50.00%        N/A           YES           2         YES                                          YES                                                                               05/02/2016                               GREEN   (done) Colum: Framework ready for review (excl technical specification). To be reassigned for completion.
151      Smart contract registry                                                                   Panopticrypt             Stef       Sydney            02/11/2015      26/02/2016    15.00%        RED           YES           2         YES                                          YES                                                                               18/03/2016                               GREEN
                                                                                                                                                                                                                                                                                                                              In progress - FB Rice are drafting the                                                       FB Rice consider that there may be between 2 and 4 separate patent applications
         Peer to peer exchange - Exchange model                                                     Coin-Exch               Stef       Sydney            09/11/2015      04/12/2015       200%     ACHIEVED        YES                                                                                                                                                      04/01/2016     22/01/2016   50.00%      RED
153                                                                                                                                                                                                                              2         YES                                          YES                                               specification                                                                    Awaiting feedback on draft specification by Stef (in progress)
154      Multi signature trust                                                                       Denariuz               Igy        Sydney            23/11/2015      26/02/2016    10.00%        RED           YES           2         YES                                                      YES                                                                   18/03/2016                               GREEN   Igy to provide urgent specific request for data.
155      Bitcoin banking system                                                                     Coin-Exch              Gavin       London            16/11/2015      26/02/2016    15.00%        RED           YES           2         YES                                                      YES                                                                   18/03/2016                               GREEN
                                                                                                                                                                                                                                                                                                                              In progress - FB Rice are drafting the
         Tokenization ('Coloured Coins')                                                               C01N                 Stef       Sydney            09/10/2015      16/10/2015    100.00%     ACHIEVED        YES                                                                                                                                                      04/01/2016     15/01/2016   50.00%      RED
165                                                                                                                                                                                                                              2         YES                                                      YES                                   specification                                                                    Draft specification to be provided on 8/1/16
168      Peer to peer exchange - (d) Automated self-enforcing derivatives                           Coin-Exch               Stef       Sydney            23/11/2015      11/03/2016    15.00%        RED           YES           2         YES                                                      YES                                                                   01/04/2016                               GREEN   Owner to be confirmed
169      Peer to peer exchange - (e) Collateralized debt obligation                                 Coin-Exch               Stef       Sydney            30/11/2015      25/03/2016    15.00%        RED           YES           2         YES                                                               YES                                                          15/04/2016                               GREEN   Owner to be confirmed
                                                                                                                                                                                                                                                                                                                              In progress - FB Rice are drafting the
         Fast payment Network (linked to Academic paper #1)                                            CRAIG                Stef       Sydney            NEW             29/01/2016    75.00%        N/A           YES                                                                                                                                                    31/12/2015       31/12/2015   25.00%     GREEN
187                                                                                                                                                                                                                             1          YES                                          YES                                               specification                                                                    Next iteration of document to be ready 8/1/16
193         Distribution Algorithms                                                                    CRAIG                                             NEW                                         N/A           TBD         TBD         YES                                                      YES
194         Storage Node (a. Store (distributed); b. Method to Validate File)                          CRAIG                                             NEW                                         N/A           TBD         TBD         YES                                          YES
195         Resubmission + Replaceable Transactions                                                    CRAIG                                             NEW                                         N/A           TBD         TBD         YES                                                      YES
196         Crypto System (a. Phi/CUDA; b. Dist.)                                                      CRAIG                                             NEW                                         N/A           TBD         TBD         YES                                                      YES
197         Parallelized BTC Transaction Processing (One transaction, many nodes)                      CRAIG                                             NEW                                         N/A           TBD         TBD         YES                                                      YES
198         Blockchain based torrent (magnet bootstrap via blockchain as hash lookup)                  CRAIG                                             NEW                                         N/A           TBD         TBD         YES                                          YES
                                                                                                                               Case 9:18-cv-80176-BB Document 878-12 Entered on FLSD Docket 01/31/2022 Page 33 of
                                                                                                                                                                     62

71    Distributed financial distress rating system                                          Denariuz       NEW 1    London   14/12/2015   29/02/2016   15.00%    RED    YES   2   YES               YES                     21/03/2016   GREEN

      A system and method to utilise the blockchain for an accounts receivable system     Interconnected   Ingrid   Sydney   15/01/2016   25/03/2016   15.00%    RED    YES                                                 15/04/2016   GREEN
124                                                                                                                                                                           2   YES               YES
      One-step posting for approval-based ledger transactions using multi-signature
                                                                                            Denariuz       NEW 1    London   21/12/2015   14/03/2016             RED    YES                                                 04/04/2016   GREEN
129   wallets                                                                                                                                                                 2   YES                     YES

      Method for coordinating smart property--guaranteed loans utilising the blockchain     Coin-Exch      Gavin    London   28/12/2015   11/03/2016   50.00%    RED    YES                                                 01/04/2016   GREEN
 89                                                                                                                                                                           3   YES               YES                                          Material OK
156   Software signing on the Blockchain                                                      CRAIG        Gavin    London   07/12/2015   25/03/2016   15.00%    RED    YES   3   YES               YES                     15/04/2016   GREEN

      A method and system to provide ECC/ECDH key exchange to three or more parties        Panopticrypt    NEW 1    London   22/12/2015   28/03/2016   10.00%    RED    YES                                                 18/04/2016   GREEN
138                                                                                                                                                                           3   YES                     YES
      System, method, and computer program product for reconciling financial data
                                                                                              C01N                           28/12/2015                         GREEN   YES                                                 21/01/1900   GREEN
 59   from multiple sources and tagged “coloured coin” sources                                                                                                                3   YES                           YES
118   Colour coin exchange exception balancing system                                        C01N          NEW 2    London   11/01/2016   14/03/2016             RED    YES   3   YES                           YES         04/04/2016   GREEN
152   Non-interest property purchase                                                        Denariuz       Ingrid   Sydney   11/01/2016   11/03/2016   50.00%    RED    YES   3   YES               YES                     01/04/2016   GREEN   Material OK
100   Lease and loan sub-ledger blockchain accounting methods and system                    Denariuz        Igy     Sydney   25/01/2016   01/04/2016   50.00%    RED    YES   3   YES                           YES         22/04/2016   GREEN   Material OK
  7   On block Futures Derivative and risk instrument                                        C01N          NEW 2    London   08/02/2016   28/03/2016             RED    YES   3   YES                           YES         18/04/2016   GREEN
  8   Programmable Bond system                                                               C01N          NEW 3    London   22/02/2016   28/03/2016             RED    YES   3   YES                     YES                            GREEN
 74   A capital asset planning system for smart property contracts                          Denariuz                         07/03/2016                         GREEN   YES   3         YES                     YES                      GREEN
      System and method for conducting an electronic financial asset deposit auction
                                                                                          Interconnected                     21/03/2016                         GREEN   YES                                                              GREEN
 88   using the Blockchain                                                                                                                                                    3         YES         YES
166   Peer to peer exchange - (b) Mobile ATM model                                          Coin-Exch                        25/01/2016                         GREEN   YES   3         YES                     YES                      GREEN
167   Peer to peer exchange - © Insurance markets                                           Coin-Exch                        08/02/2016                         GREEN   YES   3         YES                     YES                      GREEN
123   Method and system for managing spending through wallet allocation                     Coin-Exch                        29/03/2016                         GREEN   YES   3         YES                     YES                      GREEN
      Combination cryptocurrency wallet and multi-account ledger balancing system for
                                                                                            Denariuz                         01/04/2016                         GREEN   YES                                                              GREEN
127   monitoring a user's spending habits in real-time                                                                                                                        3         YES                     YES
 40   Chargeback and escrow system based on bitcoin                                         Coin-Exch                        06/04/2016                         GREEN   YES   3         YES               YES                            GREEN
      Single or multi-company business accounting system and method for same
                                                                                              C01N                                                              GREEN   YES                                                              GREEN
134   including account number maintenance                                                                                                                                    4         YES                           YES
 9    Anti-counterfeit system                                                                 CRAIG                                                             GREEN   YES   4         YES                     YES                      GREEN
      System to enhance security of mobile ad hoc networks using ECCDSA and the
                                                                                           Cloudcroft                                                  10.00%   GREEN   YES                                                              GREEN
41    Blockchain                                                                                                                                                              4   YES                           YES
      A system and method to provide for automated secure cloud based file sharing         Cloudcroft                                                           GREEN   YES                                                              GREEN
147                                                                                                                                                                           4         YES               YES
      System and method for capturing and storing casino information in a Blockchain        Denariuz                                                            GREEN   YES                                                              GREEN
15                                                                                                                                                                            4         YES                           YES
      Method and system for storing inventory holders against a tagged Blockchain
                                                                                              C01N                                                              GREEN   YES                                                              GREEN
73    token                                                                                                                                                                   4         YES                     YES
81    Automated P2P cryptocurrency loan risk assessment system and method                   Coin-Exch                                                           GREEN   YES   4         YES                     YES                      GREEN
86    Universal P2P ledger                                                                    Pholus                                                            GREEN   YES   4         YES                           YES                GREEN
      Systems and methods for credit worthiness scoring and non-debt and
                                                                                            Coin-Exch                                                           GREEN   YES                                                              GREEN
92    cryptocurrency loan facilitation                                                                                                                                        4         YES                           YES
      Method and electronic apparatus for performing automated bookkeeping utilising
                                                                                          Interconnected                                                        GREEN   YES                                                              GREEN
102   the Blockchain                                                                                                                                                          4         YES                           YES
      Financial management system and method with blockchain transaction and non-
                                                                                            Denariuz                                                            GREEN   YES                                                              GREEN
120   debt management                                                                                                                                                         4         YES                           YES
      System and method for margin loan securitization using non-debt based allocation
                                                                                            Denariuz                                                            GREEN   YES                                                              GREEN
80    and account payment                                                                                                                                                     4         YES                           YES
 2    Service provisioning – Pseduonomous                                                     Pholus                                                            GREEN   YES   4         YES                     YES                      GREEN
      System and method for utilizing proforma processing of adjustments in
                                                                                              C01N                                                              GREEN   YES                                                              GREEN
50    consolidation processes based on colored coins                                                                                                                          4         YES                           YES
      Date effective quantity on hand and adjusted unit cost calculation system for
                                                                                              C01N                                                              GREEN   YES                                                              GREEN
133   cryptocurrencies                                                                                                                                                        4         NO    YES                     YES
132   Blockchain mapped budgetary ledger                                                     Denariuz                                                           GREEN   YES   4         NO    YES               YES                      GREEN
 14   Secure video/audio                                                                   Panopticrypt                                                         GREEN   YES   4   YES                           YES                      GREEN
 49   Intercompany transactions elimination system                                           Denariuz                                                           GREEN   YES   4         YES                           YES                GREEN
117   Cryptocurrency Accounting allocation accuracy methodology                             Coin-Exch                                                           GREEN   YES   4         YES                           YES                GREEN
 16   Blockchain automata financial trading method and system                                 C01N                                                              GREEN   YES   4         YES                           YES                GREEN
 12   Remote wipe system                                                                   Panopticrypt                                                         GREEN   YES   4         YES                     YES                      GREEN
 47   Blockchain-based resource tracking                                                      Pholus                                                            GREEN   YES   4         YES                           YES                GREEN
142   A stock allocation and capitalisation system for a DAC                                 Denariuz                                                           GREEN   YES   4         YES                     YES                      GREEN
 87   P2P Social network payment settlement system                                             Zuhl                                                             GREEN   YES   4         YES                           YES                GREEN
143   A bond system for a DAC                                                                Denariuz                                                           GREEN   YES   4         YES                           YES                GREEN
      P2P System and method for facilitating the lending of digital content using
                                                                                          Interconnected                                                        GREEN   YES                                                              GREEN
99    contacts lists                                                                                                                                                          4         YES                           YES
13    IoT remote control system                                                            Panopticrypt                                                         GREEN   YES   4   YES                     YES                            GREEN

      A system and methodology to integrate key exchange and bonding for site and
                                                                                           Cloudcroft                                                           GREEN   YES                                                              GREEN
      system access
145                                                                                                                                                                           4         YES
161   Autonomous machine based oracle                                                          CRAIG                                                            GREEN   YES   4         YES                           YES                GREEN
 93   P2P Personal financial network                                                      Interconnected                                                        GREEN   YES   4         NO    YES                                        GREEN
163   Sportsbook                                                                             Denariuz                                                           GREEN   YES   4         YES                                              GREEN

      A method to use wallet integrated ECC for lightweight Application authentication     Panopticrypt                                                         GREEN   YES                                                              GREEN
43                                                                                                                                                                            4         YES                           YES
      A blockchain integrated transaction accounting payment and classification system     Cloudcroft                                                           GREEN   YES                                                              GREEN
54                                                                                                                                                                            4         YES                           YES
55    Intercompany loan management system that utilises the Blockchain                      Coin-Exch                                                           GREEN   YES   4         YES                           YES                GREEN
82    Electronic P2P Margin Management System                                               Coin-Exch                                                           GREEN   YES   4         YES                                              GREEN
      System, Method and computer program for operating web-based collective e-
      money lending/borrowing circles between members and non-members of social             Coin-Exch                                                           GREEN   YES                                                              GREEN
98    networking sites and DASOs                                                                                                                                              4         YES
      System and method for synchronizing ledger accounts by company group in
                                                                                              C01N                                                              GREEN   YES                                                              GREEN
101   blockchain allocated transactions                                                                                                                                       4         YES
      Method and system of using invoice categorization in blockchain accounting to
                                                                                            Denariuz                                                            GREEN   YES                                                              GREEN
106   deliver an automated management application                                                                                                                             4         YES
      A system fopr reading, organizing and manipulating accounting data held within
                                                                                          Interconnected                                                        GREEN   YES                                                              GREEN
121   the blockchain                                                                                                                                                          4         YES
122   Blockchain based activity information accounting method and system                  Interconnected                                                        GREEN   YES   4         YES                                              GREEN
      System and method for automatically managing bad accounts of accounts
                                                                                          Interconnected                                                        GREEN   YES                                                              GREEN
126   receivable using the Blockchain                                                                                                                                         4         YES
      System and method for implementing a revenue recognition model based on
                                                                                            Coin-Exch                                                           GREEN   YES                                                              GREEN
56    hashed information stored in Blockchain transactions                                                                                                                    4         YES
      Integrated utility accounting, materials management, work management and
      regulatory reporting software that derives information and stores it into the        Panopticrypt                                                         GREEN   YES                                                              GREEN
57    blockchain                                                                                                                                                              4         YES
      Transaction accounting payment and classification system for Blockchain beased
                                                                                          Interconnected                                                        GREEN   YES                                                              GREEN
58    accounting                                                                                                                                                              4         YES
65    Secure account aggregation using the Blockchain with one-way chains                     C01N                                                              GREEN   YES   4         YES                                              GREEN
75    General ledger (gl) journal delete/accounting line reversal blockchain service        Coin-Exch                                                           GREEN   YES   4         YES                                              GREEN
      Pay yourself first with auto bill pay system and method for blockchain accounting
                                                                                            Coin-Exch                                                           GREEN   YES                                                              GREEN
76    and budget system                                                                                                                                                       4         YES                           YES
      Pay yourself first with revenue generation as a system to budget against the
                                                                                            Coin-Exch                                                           GREEN   YES                                                              GREEN
77    blockchain                                                                                                                                                              4         YES                           YES
83    Electronic P2P Margin Agreement Registration and Management System                    Denariuz                                                            GREEN   YES   4               YES                                        GREEN
      Electronic P2P Margin Management System For Managing Actions Such As Margin
                                                                                            Denariuz                                                            GREEN   YES                                                              GREEN
84    Calls Under Margin Agreements                                                                                                                                           4               YES
      Electronic P2P Margin Management System For Managing Actions Such As Margin
                                                                                            Denariuz                                                            GREEN   YES                                                              GREEN
 85   Recalls Under Margin Agreements                                                                                                                                         4         YES
119   Blockchain integrated Budget management system and method                            Coin-Exch                                                            GREEN   YES   4         YES                                              GREEN
173   Programmable budget                                                                     C01N                                                              GREEN   YES   4         YES                                              GREEN
  3   Smart media contract                                                                 Cloudcroft                                                           GREEN   YES   4         YES                                              GREEN
      A Method and system for providing Rational Secret Sharing with Repeated Games
                                                                                           Panopticrypt                                                         GREEN   YES                                                              GREEN
139   using the blockchain                                                                                                                                                    4         YES
141   A method to encrypt and notorise messages using the bitcoin protocol                 Panopticrypt                                                         GREEN   YES   4         YES                                              GREEN
105   Extensible object oriented framework for blockchain integrated general ledger         Coin-Exch                                                           GREEN   YES   4               YES                                        GREEN
 19   Insurance monitoring system                                                           Coin-Exch                                                           GREEN   YES   5         YES                                              GREEN
 28   A secure blockchain based medial record system                                          CRAIG                                                             GREEN   YES   4         YES                                              GREEN
      A method of automatic accounting that can be used for Input,Authorize and
                                                                                              C01N                                                              GREEN   YES                                                              GREEN
48    Settlement without need for reconciliation                                                                                                                              4         YES
      Online wallet User interface for processing requests for approval in comapy
                                                                                            Coin-Exch                                                           GREEN   YES                                                              GREEN
51    accounts                                                                                                                                                                4         YES
      A method to Integrate utility accounting, materials management, work
                                                                                          Interconnected                                                        GREEN   YES                                                              GREEN
52    management and regulatory reporting software based on the Blockchain                                                                                                    4         YES
      A method to allow real-time consolidated accounting systems and real-time
                                                                                          Interconnected                                                        GREEN   YES                                                              GREEN
53    consolidated accounting program that is mapped against alloctaed budgets                                                                                                4         YES
      Method and system for facilitating commerce, social interaction and charitable
                                                                                            Denariuz                                                            GREEN   YES                                                              GREEN
67    activities as a distributed automomous Social organisation                                                                                                              4         YES
      Automata, system and Method for Equity-Based Compensation Accounting utilising
                                                                                            Denariuz                                                            GREEN   YES                                                              GREEN
115   the Blochkchain                                                                                                                                                         4         YES
                                                                                                                                   Case 9:18-cv-80176-BB Document 878-12 Entered on FLSD Docket 01/31/2022 Page 34 of
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      Method and system to allow for the adjustments to relational chart of accounts
                                                                                                  C01N                                                                GREEN     YES                                                                                                          GREEN
128   against the blockchain                                                                                                                                                           4          YES
      Selective Processing of Reverse Invoices in Computer Systems for Financial
      Transactions and implemewnting a chargeback system for merchant using a                     C01N                                                                GREEN     YES                                                                                                          GREEN
131   blockchain based payment system                                                                                                                                                  4          YES
      System and method for utilizing proforma processing of adjustments in blockchain
                                                                                                  C01N                                                                GREEN     YES                                                                                                          GREEN
61    based consolidation processes                                                                                                                                                    5                YES
      System, method, and computer program product for automatically posting
      transactions associated with a transaction in the blockchain that is mapped to an           C01N                                                                GREEN     YES                                                                                                          GREEN
62    account into a general ledger                                                                                                                                                    5          YES
      Apparatus and method for dynamically auditing blockchain accounts to produce
                                                                                                Coin-Exch                                                             GREEN     YES                                                                                                          GREEN
108   metadata                                                                                                                                                                         4          YES
      Cryptocurrency-implemented method and system for reading trenasactions posted
                                                                                                Coin-Exch                                                             GREEN     YES                                                                                                          GREEN
130   into the blockchain and posting journal entries to general ledger                                                                                                                5          YES
135   Automatic taxonomy merge system for blockchain based accounting                         Interconnected                                                          GREEN     YES    5          YES                                                                                        GREEN
  5   Wallet based authentication system                                                       Panopticrypt                                                           GREEN     YES    4          YES                                                                                        GREEN
176   Online distributed ledger                                                                   Pholus                                                              GREEN     YES    5          YES                                                                                        GREEN
  4   Smart event ticketing                                                                      Denariuz                                                             GREEN     YES    5          YES                                                                                        GREEN
 26   Blcokchain based Incremental automata verification                                       Panopticrypt                                                           GREEN     YES    5          YES                                                                                        GREEN
      Unified, configurable services stack for integration of enterprise applications using
                                                                                               Panopticrypt                                                           GREEN     YES                                                                                                          GREEN
136   a loop stack against the blockchain                                                                                                                                              5          YES
      Blockchain based Deterministic finite automata graph traversal with nodal bit
                                                                                               Panopticrypt                                                           GREEN     YES                                                                                                          GREEN
36    mapping into bitcoin addresses                                                                                                                                                   5                YES
      Blockchain system to ensure the prioritization of group communications at a
                                                                                               Cloudcroft                                                             GREEN     YES                                                                                                          GREEN
114   wireless communication device                                                                                                                                                    4          YES
      Methods and systems for improving timely loan repayment by controlling online
      accounts, notifying social contacts, using loan repayment DASo’s employing social         Denariuz                                                              GREEN     YES                                                                                                          GREEN
 97   graphs                                                                                                                                                                           5                YES
157   Verify signed software on the Blockchain                                                  Denariuz                                                   15.00%     GREEN     YES    5          YES                                                                                        GREEN

      System and method of tracking and recognizing the exchange of favors in a DASO            Denariuz                                                              GREEN     YES                                                                                                          GREEN
90                                                                                                                                                                                     5                YES
      Method and apparatus for data encryption/decryption using cellular automata
                                                                                               Panopticrypt                                                           GREEN     YES                                                                                                          GREEN
 17   transform                                                                                                                                                                        5          YES
175   CGA++ cryptographic key                                                                  Panopticrypt                                                           GREEN     YES    5    YES               YES                                                                            GREEN
181   DASO - (e) Sports bet (85%)                                                                Denariuz                                                             GREEN     YES    5          YES                                                                                        GREEN
 11   Anti-theft system                                                                        Panopticrypt                                                           GREEN     YES    5          YES                                                                                        GREEN
 44   A method to create Efficient Wireless Security Protocols using the blockchain            Panopticrypt                                                           GREEN     YES    5          YES                                                                                        GREEN
144   A blockchain wallet system to enable Object Signing and Encryption                       Panopticrypt                                                           GREEN     YES    5          YES                                                                                        GREEN
146   An authentication system based on the use of cryptocurrncy wallets                        Coin-Exch                                                             GREEN     YES    5          YES                                                                                        GREEN
159   Secure off-block transfers                                                                  CRAIG                                                    15.00%     GREEN     YES    5          YES                                                                                        GREEN
      A system and methods to ensure High-priority communications sessions within a
      wireless communications system using ECCDSA based access with a blockchain               Panopticrypt                                                           GREEN     YES                                                                                                          GREEN
113   integrated ledger                                                                                                                                                                5    YES
      A system and method to store and implement network and system level controls
                                                                                               Cloudcroft                                                             GREEN     YES                                                                                                          GREEN
150   into the Blockchain                                                                                                                                                              5          YES
158   6. Intelligent bitcoin agents                                                               C01N                                                     15.00%     GREEN     YES    5          YES                                                                                        GREEN
160   BOTMAN                                                                                      CRAIG        Tech 1                                      10.00%     GREEN     YES    5          YES                                                                                        GREEN

      A method to provide Ad-hoc updates to source transactions against the blockchain            Pholus                                                              GREEN     YES                                                                                                          GREEN
116                                                                                                                                                                                    5                YES
 64   User-controlled blockchain verified sweepstakes entries                                    Denariuz                                                             GREEN     YES    5                YES                                                                                  GREEN
 27   Automated 3d fabrication system                                                             Pholus                                                              GREEN     YES    5                YES                                                                                  GREEN
 45   System and method for cryptocurrency business logic and validation                           C01N                                                               GREEN     YES    5                YES                                                                                  GREEN
 63   Blockchain computing as a basis for equipment health monitoring service                      CRAIG                                                              GREEN     YES    5          YES                                                                                        GREEN
104   Blockchain enabled Enterprise information management system and methods                    Denariuz                                                             GREEN     YES    5          YES                                                                                        GREEN
 29   Extensible vote based property ownership system                                         Interconnected                                                          GREEN     YES    5          YES                                                                                        GREEN
      System and method for international merchandise return service against the
                                                                                                Denariuz                                                              GREEN     YES                                                                                                          GREEN
79    blockchain                                                                                                                                                                       5          YES
      Blockchain integrated revenue management systems and methods with re-rating
                                                                                                Coin-Exch                                                             GREEN     YES                                                                                                          GREEN
112   and rebilling                                                                                                                                                                    5          NO    YES
177   DASO - (a) Employment smart contract                                                      Denariuz                                                              GREEN     YES    5          YES                                                                                        GREEN
179   DASO - © Anti-fraud loyalty                                                               Denariuz                                                              GREEN     YES    5          YES                                                                                        GREEN
                                                                                                                                                                                                                    Awaiting review - awaiting feedback
      Reactive and preemptive security system based on choice theory                           Cloudcroft       Ben     Sydney   04/08/2015   05/11/2015   100.00%   ACHIEVED   YES                                                                       11/01/2016   18/01/2016   75.00%   YELLOW
183                                                                                                                                                                                    5    YES                                 from nCrypt                                                           Questions have been forwarded to Craig
  6   Network and system modelling                                                             Panopticrypt                                                                     YES    5          YES
 68   Blockchain verified Player reward program with loyalty-based reallocation                  Denariuz                                                                       YES    5                YES
 70   Automatically verified Player reward program with loyalty-based reallocation               Denariuz                                                                       YES    5                YES
110   Blockchain based medical insurance verification and processing system                        CRAIG                                                                        YES    5          YES
125   A blockchain and crypotocurrency Gift card assembly and method                            Coin-Exch                                                                       YES    5                YES
180   DASO - (d) Smart switch                                                                    Denariuz                                                                       YES    5          YES
103   Vote based blockchain requisition and authorization process                             Interconnected                                                                    YES    5          YES
      Automated autromata and system and method for managing and monitoring
                                                                                                  C01N                                                                          YES
109   financial performance associated with benefits                                                                                                                                   5                YES
164   Secure bitcoin messaging platform                                                        Cloudcroft                                                                       YES    5          YES
      System and method for credential management and administration using the
                                                                                               Panopticrypt                                                                     YES
66    blockchain                                                                                                                                                                       5          YES
46    General ledger chart of accounts combination editing request response                     Coin-Exch                                                                       YES    5                YES
      Method and system to manage blockchain enabled services for multiple managed
                                                                                              Interconnected                                                                    YES
107   computer systems                                                                                                                                                                 5          YES
 10   Distributed Reputation system                                                                Zuhl                                                                         YES    5          YES
 18   Analog and Perceptron nureal network logic automata (on the blockchain)                  Panopticrypt                                                                     YES    5                YES
172   Reputation based authentication system                                                       Zuhl                                                                         YES    5                YES
 21   Asynchronous logic automata                                                              Panopticrypt                                                                     YES    5                YES
140   A method to efficently allocate connections in a Gossip protocol network                    Pholus                                                                        YES    5                YES
171   XML mapping system block chain integration                                              Interconnected                                                                    YES    5                YES
178   DASO - (b) Time clock                                                                      Denariuz                                                                       YES    5                YES
 20   Vehicle history log                                                                        Denariuz                                                                       YES    5                YES
      Content search mechanism that uses a Blockchain based deterministic finite
                                                                                                  CRAIG                                                                         YES
35    automata (DFA) graph, a DFA state machine, and a walker process                                                                                                                  5                YES
39    System verification using one or more blockchain automata                                   CRAIG                                                                         YES    5                YES
      System and method for creating a secure trusted social network with reputation
                                                                                                  Zuhl                                                                          YES
 96   recorded into the blockchain                                                                                                                                                     5                YES
149   An integrated secure blockchain based voting system                                     Interconnected                                                                    YES    5                YES
182   20. eLearning                                                                              Integyrz                                                                       YES    5                YES
 30   Blockchain based Deterministic finite automata (DFA) graph compression                       CRAIG                                                                        YES    5                YES
      Blockchain based Deterministic finite automata graph traversal with nodal bit
                                                                                                  CRAIG                                                                         YES
33    mapping                                                                                                                                                                          5                YES
      Content search mechanism that uses a deterministic finite automata (DFA) graph,
                                                                                                  CRAIG                                                                         YES
34    a DFA state machine, and a walker process                                                                                                                                        5                YES
      A point recording system and network graph analysis platform based on the
                                                                                                  CRAIG                                                                         YES
148   Blockchain                                                                                                                                                                       5                YES
162   Autonomous consensus platform                                                              Denariuz                                                                       YES    5                YES
170   Auditable secret voting system                                                          Interconnected                                                                    YES    5                YES
174   Plausible deniability wallet                                                                 CRAIG                                                                        YES    5                YES
      Deterministic encoding of fuzzy finite state automata in continuous recurrent
                                                                                               Panopticrypt                                                                     YES
25    neural networks related to blockchains                                                                                                                                           5                YES
37    Intelligent blockchain graph walking                                                        CRAIG                                                                         YES    5                YES
      Method and system for generating occupant schedules that are maintained in the
                                                                                                Denariuz                                                                        YES
 69   blockchain                                                                                                                                                                       5                YES
 94   DASO and method for collaborative shopping, business and entertainment                    Denariuz                                                                        YES    5                YES
111   Automated blockchain system for customizing and managing benefits                          C01N                                                                           YES    5                YES
      Deterministic Finite Automata Graph Traversal with Nodal Bit Mapping based on a
                                                                                                Denariuz                                                                        YES
22    distributed block system                                                                                                                                                         5                YES
23    Automata-Theoretic Approach Compiler for Adaptive Software                               Cloudcroft                                                                       YES    5                YES
      Blockchain enabled automata driven self-evolution in multi-agent environments            Cloudcroft                                                                       YES
24                                                                                                                                                                                     5                YES
32    Blockchain based Deterministic finite automata (DFA) processing                          Cloudcroft                                                                       YES    5                YES
      Method and apparatus for traversing a deterministic finite automata (dfa) graph
                                                                                                  CRAIG                                                                         YES
38    compression to find optimised blockchain exchange paths                                                                                                                          5                YES
      Blockchain automata Toilet and Facilities management systems, methods, and
                                                                                                  CRAIG                                                                         YES
78    techniques                                                                                                                                                                       5                YES
      Method of Sharing Possessions among “Friends” Connected through a Social
                                                                                                  Zuhl                                                                          YES
95    Network using blockchain based tracking                                                                                                                                          5                YES
      A method and system to allow for the exchange of personal information whilst
                                                                                                  Zuhl                                                                          YES
137   maintaining priovacy in social and dating networks                                                                                                                               5                YES
199   Secure Gaming Player Wallet System                                                          Craig                          NEW                                   N/A      TBD   TBD   YES               YES
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